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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION



UNITED STATES OF AMERICA                    )
                                            )
v.                                          )              4:13MJ6010 BD
                                            )
JEAN-MARC CHENIER                           )


                                          ORDER

       The defendant’s motion for bond hearing (docket entry no. 16) is granted. The hearing

will be conducted on Tuesday, May 21, 2013, at 2:30 p.m.

       IT IS SO ORDERED this 8        day of May, 2013.




                                                UNITED STATES MAGISTRATE JUDGE
